          Case 5:17-cv-04467-BLF Document 460 Filed 03/31/21 Page 1 of 5



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 9   Additional counsel listed on signature page

10   Attorneys for Plaintiff
     FINJAN LLC
11

12                                UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN JOSE DIVISION
     FINJAN LLC, a Delaware Corporation,             Case No.: 5:17-cv-04467-BLF (VKD)
15
                     Plaintiff,                      STIPULATION AND [PROPOSED] ORDER
16
                                                     VACATING PRETRIAL DEADLINES
     v.
17
     SONICWALL, INC., a Delaware Corporation,        Judge: Hon. Beth Labson Freeman
18                                                   Dept: Courtroom 3, Fifth Floor
                     Defendant.
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                                                                    CASE NO.: 5:17-CV-04667-BLF (VKD)
                                                                     STIPULATION AND [PROPOSED] ORDER
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 1          WHEREAS, the trial in the above-captioned matter was scheduled to commence on May

 2   3, 2021;

 3          WHEREAS, Judge Freeman vacated same trial date in her Order of March 30, 2021 at Dkt.

 4   459;

 5          WHEREAS, the Parties believe that all pretrial deadlines should be vacated in light of

 6   Judge Freeman’s March 30th Order;

 7          WHEREAS, the Parties will meet and confer regarding pretrial deadlines when the Court

 8   reschedules the new trial date.

 9          NOW, THEREFORE, the parties respectfully request that the Court issue an order vacating

10   all pretrial deadlines and remove all pretrial deadlines from the calendar.

11          The Parties submit a corresponding order reflecting this joint stipulation for the Court’s

12   consideration.

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                                                      1                 CASE NO.: 5:17-CV-04667-BLF (VKD)
                                                                         STIPULATION AND [PROPOSED] ORDER
        Case 5:17-cv-04467-BLF Document 460 Filed 03/31/21 Page 3 of 5



 1   Dated: March 31, 2021
                                           By: /s/ Nicole E. Grigg
 2   By: /s/ Proshanto Mukherji            D. Stuart Bartow (SBN 233107)
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                                           SONICWALL, INC.
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                                           2             CASE NO.: 5:17-CV-04667-BLF (VKD)
                                                          STIPULATION AND [PROPOSED] ORDER
        Case 5:17-cv-04467-BLF Document 460 Filed 03/31/21 Page 4 of 5



 1                                   CONCURRENCE IN FILING

 2          I, Nicole E. Grigg, hereby attest that the concurrence to the filing of this document has
 3   been obtained from each signatory hereto.
 4                                                 /s/ Nicole E. Grigg
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                                                     3                   CASE NO.: 5:17-CV-04667-BLF (VKD)
                                                                          STIPULATION AND [PROPOSED] ORDER
        Case 5:17-cv-04467-BLF Document 460 Filed 03/31/21 Page 5 of 5



 1                                      [PROPOSED] ORDER
 2            IT IS HEREBY ORDERED that all pretrial deadlines are vacated and removed from the

 3   Court’s calendar.

 4            IT IS SO ORDERED.
 5
     Dated:
 6                                             Judge Beth Labson Freeman
                                               UNITED STATES DISTRICT COURT JUDGE
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                                                  4              CASE NO.: 5:17-CV-04667-BLF (VKD)
                                                                  STIPULATION AND [PROPOSED] ORDER
